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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS

     UNITED STATES OF AMERICA                       )
                                                    )
                           v.                       )       Docket No: 19-cr-10459-RWZ-37
                                                    )
     LUIS MENDEZ                                    )


              DEFENDANT’S MOTION FOR RULING AS TO DETENTION

       The Defendant, Luis Mendez, moves that the Court issue a ruling on the issue of his

detention.   On May 20, 2020, the Court held a detention hearing. At the conclusion of the

hearing, the Court indicated that it would review the Defendant’s medical records and issue an

electronic order. D.E. #919. As of the filing of this motion, however, no order has issued.

       If it is the Court’s intention to detain the defendant, the Defendant may seek review of

any detention order pursuant to 18 U.S.C. §3145(b), providing for review of a detention order by

the District Court.   The absence of a formal order of detention frustrates the Defendant’s ability

to avail himself of that relief. Wherefore, the defendant requests that the Court issue a timely

order on the issue of his detention.

                                                        Respectfully submitted,
                                                        /s/ Scott Lauer
                                                        Scott Lauer,
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                                  CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF) on June 1,
2020.

                                                     /s/ Scott Lauer
                                                     Scott Lauer
